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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 FARHAD AZIMA,
 ALG TRANSPORTATION, INC.,
 MAIN 3260 LLC,
 FFV W39 LLC, AND                                         Civil Action No. 22-CV-8728 (PGG)
 FFV DEVELOPMENT LLC,
                                                                NOTICE OF DEFENDANT
                        Plaintiffs,                            DAVID GRAHAM HUGHES’
                                                                 MOTION TO DISMISS
        -against-                                                 THE COMPLAINT

 DECHERT LLP,                                                   Oral Argument Requested
 DAVID NEIL GERRARD,
 DAVID GRAHAM HUGHES,
 NICHOLAS DEL ROSSO,
 VITAL MANAGEMENT SERVICES, INC.,
 AMIT FORLIT,
 INSIGHT ANALYSIS AND RESEARCH LLC,
 SDC-GADOT LLC,
 AMIR HANDJANI,
 ANDREW FRANK, and
 KARV COMMUNICATIONS,

                        Defendants.



       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendant David Graham Hughes’ Motion to Dismiss, dated February 28, 2023, and the Joint

Memorandum of Law in Support of Defendants’ Motions to Dismiss, dated February 28, 2023,

defendant David Graham Hughes, by his undersigned attorneys, will move this Court, before the

Honorable Paul G. Gardephe, United States District Judge for the Southern District of New York,

at the Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New York

10007, at a date and time to be determined by the Court, for an order pursuant to Rules 12(b)(2)

and 12(b)(6) of the Federal Rules of Civil Procedure dismissing plaintiffs’ complaint, and for such

other and further relief as the Court deems just and proper.
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Dated: February 28, 2023
       New York, New York
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